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                                                                                     500 Delaware Avenue, Suite 1410
                                                                                          Wilmington, DE 19801
                                                                                    302-652-3131 302-652-3117 fax
                                                                                                    —
                                                                                               New Jersey
                                                                                                    —
                                                                                                New York
  Andrew L. Cole                                                                                    —
  Member                                                                                        Maryland
  Admitted in DE, FL, MD and VA
                                                                                                    —
                                                                                                  Texas
  Reply to Delaware Office                                                                          —
  Writer’s Direct Line: 302.651.2011                                                             Florida
  Writer’s Direct Fax: 302-652-3117
  Writer’s E-Mail: acole@coleschotz.com



                                                  January 9, 2024

 Via CM/ECF Filing
 and Hand Delivery

 The Honorable Maryellen Noreika
 J. Caleb Boggs Federal Building
 844 N. King Street
 Unit 19, Room 4324
 Wilmington, DE 19801-3555

             Re:          Gordian Medical, Inc. d/b/a American Medical Technologies, et al.
                          v. Misty Vaughn, et al.
                          C.A. No.: 1:22-cv-00319-MN-SRF

 Dear Judge Noreika:

         On January 2, 2024, Defendant Misty Vaughn filed a “Notice of Supplemental Authority”
 asserting that newly enacted provisions of § 16600.5 of the California Business and Professions
 Code (the “Statute”) bear on the claims and defenses in this case. Defendant’s assertion is false.
 The newly enacted aspects of the Statute cited by Defendant have no bearing on or relevance to
 the present action, either generally, or with respect to the parties’ contracts specifically, because
 Delaware substantive law alone governs.

         Defendant’s Notice of Supplemental Authority asserts that a California choice of law
 clause in a “2019 Executive Employment Agreement that Ms. Vaughn signed with AMT prior to
 the company’s purchase by private equity firms” means that California law applies to the present
 dispute. What Defendant omits is that Plaintiffs’ action is based on breaches of restrictive
 covenants contained in two 2021 agreements, Ms. Vaughn’s 2021 Employment Agreement and
 her 2021 Incentive Unit Grant Agreement. Each of these agreements provides that Delaware, not
 California, law applies.

         In a diversity case such as this, courts must “look to the choice-of-law rules of the forum
 state—the state in which the District Court sits—in order to decide which body of substantive law
 to apply to a contract provision, even where the contract contains a choice-of-law clause.” Collins
 on behalf of herself v. Mary Kay, Inc., 874 F.3d 176, 183 (3d Cir. 2017); see also Sanders v.
 Phoenix Ins. Co., 843 F.3d 37, 47 (1st Cir. 2016) (“As federal judges sitting in diversity
 jurisdiction, though, we are not free to pick and choose which state’s jurisprudence is the most
 sound. Rather, we are duty-bound to accept controlling state law where it can be discerned.”).

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          Delaware follows the Restatement (Second) of Conflict of Laws when determining which
 state’s law governs a contract. Certain Underwriters at Lloyds, London v. Chemtura Corp., 160
 A.3d 457, 464 (Del. 2017).

         Section 187 of the Restatement provides that where, as here, the parties to a contract have
 selected the law of a particular jurisdiction to govern their agreement, then “[t]he law of the state
 chosen by the parties to govern their contractual rights and duties will be applied,” unless either:

                   (a) the chosen state has no substantial relationship to the parties or
                   the transaction and there is no other reasonable basis for the parties’
                   choice, or

                   (b) application of the law of the chosen state would be contrary to a
                   fundamental policy of a state which has a materially greater interest
                   than the chosen state in the determination of the particular issue and
                   which, under the rule of § 188, would be the state of the
                   applicable law in the absence of an effective choice of law by the
                   parties.

 Focus Fin. Partners, LLC v. Holsopple, 241 A.3d 784, 803-04 (Del. Ch. 2020) (citing Restatement
 (Second) of Conflict of Laws § 187 (emphasis added)).

         Here, the first exception does not apply because Plaintiff AMT Ultimate Holdings, L.P.
 (“Holdings”)—a party to both contracts at issue—is a Delaware limited partnership, and thus, there
 was and remains a reasonable basis for the parties’ choice of Delaware law. See Coface
 Collections N. Am. Inc. v. Newton, 430 F. App’x 162, 167 (3d Cir. 2011) (incorporation in
 Delaware by one of the contracting parties is sufficient to satisfy “reasonable basis requirement”);
 Ciena Corp. v. Jarrard, 203 F.3d 312, 324 (4th Cir. 2000) (reasonable for [plaintiff-employer] to
 select the law of Delaware to govern its contractual relationships because it is organized under the
 laws of Delaware and continues to maintain its charter under those laws); see also Advanced
 Reimbursement Mgmt., LLC v. Plaisance, 2019 WL 2502931, at *5 (D. Del. June 17, 2019) (J.
 Noreika) (conducting Section 187 analysis) (internal citations and quotations omitted) (“The Third
 Circuit has held that Delaware has a substantial relationship to a transaction when it is the location
 where one of the transacting parties is incorporated. Plaintiff is a Delaware limited liability
 company and is organized under the laws of Delaware, thus creating a substantial relationship with
 Delaware. Moreover, the existence of a choice-of-law clause establishes a material relationship
 between the chosen state and the transaction.”).

         The second Section 187 exception also does not apply because California is not “the state
 of the applicable law in the absence of an effective choice of law by the parties.” To assess the
 identity of this “in-the-absence state,” the Court must examine “(a) the place of contracting, (b)
 the place of negotiation of the contract, (c) the place of performance, (d) the location of the subject
 matter of the contract, and (e) the domicile, residence, nationality, place of incorporation and place
 of business of the parties.” Restatement (Second) of Conflict of Laws § 188. Here, no factors
 touch on California:
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          1. As to the place of contracting:

               a. The Employment Agreement appears to have been signed:

                   1. by Defendant remotely in South Carolina;

                   2. by AMT remotely in New York; and

                   3. by Holdings remotely in New York.

               b. The Incentive Unit Grant Agreement appears to have been signed:

                   1. by Defendant in wet ink in South Carolina;

                   2. by AMT in wet ink in New York; and

                   3. by Holdings in wet ink in New York.

          2. As to the place of negotiation of the contracts, there was no one place of negotiating
             the Agreements, with negotiation conducted virtually between participants in Ohio,
             South Carolina, and New York; however, no aspects of the Agreements were
             negotiated from California.

          3. As to the place of performance of the contracts, the Agreements were to be performed
             primarily in South Carolina, where Defendant lived and generally worked remotely.

          4. As to the location of the subject matter of the contracts, Defendant resided in South
             Carolina during her employment with AMT, where she generally worked remotely.

          5. As to the domicile, residence, nationality, place of incorporation, and place of business
             of the parties:

               a. Defendant is a citizen and resident of South Carolina;

               b. AMT is a Nevada corporation with its principal place of business—which has
                  moved since the conclusion of trial—in Metairie, Louisiana.

               c. Holdings is a Delaware limited partnership with its principal place of business in
                  Metairie, Louisiana.

         Because California has no connection to the agreements, California is not the state of the
 applicable law absent the parties’ effective choice. Accordingly, Delaware law continues to apply
 to this action, and California law—including the newly-enacted aspects of the Statute cited by
 Defendant—has no application to this action. See Sycamore Partners Mgmt., L.P. v. Endurance
 Am. Ins. Co., 2021 WL 761639, at *9 (Del. Super. Ct. Feb. 26, 2021) (“Failure to satisfy the
 default-state element is enough to end the analysis under Restatement § 187(2)(b)”).

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          Putting the above analysis aside, Delaware, and not California law, should be applied for
 several reasons. First, Defendant had every opportunity to argue that California law applied earlier
 in this case yet chose not to do so. Indeed, by Defendant’s own admission, “Section 16600 of the
 California Business & Professions Code . . . has been the law of California since 1941[.]” (D.I.
 135, p.1). At the trial in June 2023, all parties appeared to agree that Delaware law applied to the
 parties’ dispute and made no reference to California law. For example, in the parties’ Stipulated
 Pretrial Order, Defendant repeatedly relies on Delaware law and substantive defenses, not
 California law or substantive defenses. (See, e.g., D.I. 123, pp. 13-14).

          Second, Defendant’s newfound reliance on California law is belied by the fact that she
 previously (and unsuccessfully) filed a preemptive declaratory action in the United States District
 Court for the District of South Carolina, specifically seeking to establish “that the Employment
 Agreement is governed by the laws of the State of South Carolina, notwithstanding the choice of
 law provision in the Agreement purported to incorporate the law of the State of Delaware.” (See
 Vaughn v. Gordian Medical, Inc., United States District Court for the District of South Carolina,
 6:22-cv-00675-DCC, Complaint, D.I. 1, p. 9). After transfer of that action to this Court, Defendant
 again attempted to invoke both Delaware law and South Carolina law (but not California law).
 (See, e.g., Answer, D.I. 56, p. 22 (“Plaintiffs’ Complaint is barred, in whole or in part, because the
 restrictive covenants are violative of the public policy of the State of South Carolina or the State
 of Delaware[.]”)). Plaintiff’s prior declaratory action and pleadings are a tacit recognition that
 California law does not apply to this case.

       For the foregoing reasons, Plaintiffs respectfully submit that briefing on the Statute is
 unnecessary and respectfully request that the Court enter judgment in their favor.

                                                   Respectfully submitted,



                                                   Andrew L. Cole (No. 5712)



 ALC:mev
 cc:  All Counsel of Record (Via CM/ECF Filing)




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